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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

NORTHERN DIVISION
MORGAN HANUSOWSKI
#556211 PLAINTIFF
Vv. No. 3:20-cv-272-DPM

KYLE FRENCH, Booking/Correctional
Officer, Craighead County Detention
Center DEFENDANT

ORDER

Unopposed recommendation, Doc. 4, adopted. FED. R. CIV.
P. 72(b) (1983 addition to advisory committee notes). Hanusowski’s
complaint, Doc. 2, will be dismissed without prejudice for failure to
state a claim. This dismissal counts as a “strike” for purposes of
28 U.S.C. § 1915(g). An in forma pauperis appeal from this Order and
accompanying Judgment will not be taken in good faith. 28 U.S.C.
§ 1915(a)(3).

So Ordered.

BA SL.

D.P. Marshall Jr.
United States District Judge

 
